Case 22-15432-RG
 UNITED            Doc 15 COURT
        STATES BANKRUPTCY   Filed 07/19/22 Entered 07/19/22 20:54:31          Desc Main
 DISTRICT OF NEW JERSEY     Document      Page 1 of 1
 Caption in Compliance with D.N.J. LBR 9004-1(b)

 FEIN, SUCH, KAHN & SHEPARD, P.C.
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 Attorneys for Select Portfolio Servicing,
 Inc., as servicer for CSMC 2020-RPL2 Trust
 R.A. LEBRON, ESQ.
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 In Re:                                                   Case No.:   22-15432 RG

 HENRY BELL, JR.                                          Chapter:    13

  Debtor(s).                                              Judge:   Honorable Rosemary Gambardella




                                   NOTICE OF APPEARANCE

              PLEASE TAKE NOTICE that in accordance with Fed. R. Bankr. P.

9010(b) the undersigned enters an appearance in this case on behalf of Select

Portfolio Servicing, Inc., as servicer for CSMC 2020-RPL2 Trust. This party is

a party in interest in this case pursuant to a mortgage dated September 24,

2003 and recorded in the Office of the HUDSON County Clerk/Register on January

16, 2004 in Mortgage Book 10925, Page 184, and is a secured creditor. Request

is made that the documents filed in this case and identified below be served

on the undersigned at this address:

              ADDRESS:           FEIN, SUCH, KAHN & SHEPARD, P.C.
                                 Counsellors at Law
                                 7 Century Drive - Suite 201
                                 Parsippany, New Jersey 07054

              DOCUMENTS:

              : All notices entered pursuant to Fed. R. Bankr. P. 2002.

              : All documents and pleadings of any nature.

                                           FEIN, SUCH, KAHN & SHEPARD, P.C.
                                           Attorneys for Select Portfolio Servicing,
                                           Inc., as servicer for CSMC 2020-RPL2 Trust

Dated: July 18, 2022                       By:/s/ R.A. Lebron, Esq.
                                               R.A. LEBRON, ESQ.




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